Case 2:15-cv-13305-DML-DRG ECF No. 73, PageID.566 Filed 02/23/17 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

DANIEL C. WALLER, JR.,

                       Plaintiff,
                                                              Case Number 15-13305
v.                                                            Honorable David M. Lawson
                                                              Magistrate Judge David R. Grand
TIAVON MOORE-PATTON, RAMONA
VINCENT, MARIA ROSADO, BENJAMIN
QUANTA MiDOGE, CRINISHA HALL,
ANGELA CALLOWAY, and ROBERT CAIN,

                  Defendants.
_______________________________________/

ORDER DENYING PLAINTIFF’S MOTION FOR AN EXTENSION OF TIME TO FILE
      OBJECTIONS, ADOPTING MAGISTRATE JUDGE’S REPORT AND
  RECOMMENDATION, GRANTING DEFENDANTS’ MOTION FOR SUMMARY
JUDGMENT, AND DENYING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Presently before the Court is the report issued on January 18, 2017 by Magistrate Judge

David R. Grand pursuant to 28 U.S.C. § 636(b), recommending that the Court grant the motion for

summary judgment by defendants Tiavon Moore-Patton, Ramona Vincent, Maria Rosado, Benjamin

Quanta MiDodge, Crinisha Hall, Angela Calloway, and Robert Cain, and deny the plaintiff’s motion

for summary judgment. The report stated that the parties to this action could object to and seek

review of the recommendation within fourteen days of service of the report. On February 1, 2017,

the plaintiff filed a motion to extend the time to file objections. The Court granted the motion, and

extended the time to file objections to February 20, 2017.

       Rather than file objections, the plaintiff filed a “motion for pause for plaintiffs response to

objection.” In his motion, the plaintiff explains that before filing this case, he was provided an

attorney through his local union to assist him with filing a grievance against many of the same

defendants in this case. According to the plaintiff, an arbitration hearing was held in December
Case 2:15-cv-13305-DML-DRG ECF No. 73, PageID.567 Filed 02/23/17 Page 2 of 3




2016. The plaintiff is now asking the Court to extend the time for him to file objections until after

the arbitration resolves. Despite engaging in the union grievance process, the plaintiff voluntarily

filed the present case. Although the arbitration may concern some of the same issues and parties

involved in this case, it is a wholly separate matter. The case before this Court must proceed on its

own schedule. The plaintiff has not provided sufficient grounds to allow a further extension of the

time to file objections to the magistrate judge’s report. The motion therefore will be denied.

        No objections were filed to the magistrate judge’s report and recommendation. The parties’

failure to file objections to the report and recommendation waives any further right to appeal. Smith

v. Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Likewise, the failure

to object to the magistrate judge’s report releases the Court from its duty to independently review

the matter. Thomas v. Arn, 474 U.S. 140, 149 (1985). However, the Court agrees with the findings

and conclusions of the magistrate judge.

        The Court observes that defendants Doug Spicer and Peter Young are listed erroneously as

defendants in this case. They were initially added to the docket when the plaintiff filed a second

amended complaint, which included them as defendants. However, the magistrate judge struck the

second amended complaint because it was filed almost three months after the close of discovery, and

the plaintiff did not have written consent by the opposing parties or leave of the Court to do so. See

Federal Rule of Civil Procedure 15(a) & (b) (Once 21 days has passed from serving the complaint

or the filing of a responsive pleading, “a party may amend its pleading only with the opposing

party’s written consent or the court’s leave.”). Therefore, defendants Doug Spicer and Peter Young

are not parties to this case.




                                                 -2-
Case 2:15-cv-13305-DML-DRG ECF No. 73, PageID.568 Filed 02/23/17 Page 3 of 3




       Accordingly, it is ordered that the plaintiff’s motion for pause for plaintiff’s response to

objection [dkt. #72] is DENIED.

       It is further ORDERED that the magistrate judge’s report and recommendation [dkt. #68]

is ADOPTED.

       It is further ORDERED that the motion for summary judgment filed by defendants Tiavon

Moore-Patton, Ramona Vincent, Maria Rosado, Benjamin Quanta MiDodge, Crinisha Hall, Angela

Calloway, and Robert Cain [dkt. #61] is GRANTED.

       It is further ORDERED that the motion for summary judgment filed by plaintiff Daniel C.

Waller [dkt. #66] is DENIED.

       It is further ORDERED that the amended complaint is DISMISSED WITH PREJUDICE.


                                                       s/David M. Lawson
                                                       DAVID M. LAWSON
                                                       United States District Judge

Dated: February 23, 2017


                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on February 23, 2017.

                                                          s/Susan Pinkowski
                                                          SUSAN PINKOWSKI




                                                          -3-
